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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                               1:00cr15-SPM

WILLIAM H. BLACK, et al.
                                   /

                                       ORDER

       BEFORE THE COURT is the government’s motion for a writ of attachment

or, alternatively, a motion for an order directing transfer of funds. Doc. 1221.

The government contends that there are outstanding restitution balances owed

by the defendants. The Court is also advised that the United States Marshals

Service is holding $25,000.00 which was seized (tendered by counsel) along with

$2,500.00 in the form of a claim and cost bond.

       The Marshals Service has expenses totaling $203.04. The government

has requested that the total amount held by the Marshals Service, $27,500.00,

less the Marshals Service’s expenses should be transferred to the Clerk of Court

for distribution to the victims. The certificate of service contained in the

government’s motion indicates that copies were mailed to the defendants as well

as to counsel for defendant Linda Wilson and to the firm which tendered the
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funds. Having received no objection, the government’s motion is GRANTED.

       IT IS HEREBY ORDERED that the Marshals Service shall transfer and

pay to the Clerk of Court the sum of $27,296.96.

       IT IS FURTHER ORDERED that the Clerk of Court shall distribute the

$27,296.96 to the victims as ordered in the judgments of conviction.

       DONE AND ORDERED this 24th day of September, 2007.


                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge




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